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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 0:17-cv-62320-UU

 ISEMONA MELINDOR,

        Plaintiff,

 v.

 OCWEN LOAN SERVICINE, LLC, et al.,

        Defendants.
                      ___                     /
                                            ORDER

        The Initial Planning and Scheduling Conference in this matter is hereby re-set to Friday,

 February 9, 2018, at 11:00 AM.

        DONE AND ORDERED in Chambers at Miami, Florida, this 22nd day of January, 2018.




 cc: counsel of record via cm/ecf
